         Case: 1:17-cv-07001 Document #: 1 Filed: 09/28/17 Page 1 of 6 PageID #:1



                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ROBERT FOX,
                                                         CIVIL ACTION
       Plaintiff,

 v.                                                      COMPLAINT 1:17-cv-07001

 I.C. SYSTEM, INC.
                                                         JURY TRIAL DEMANDED
       Defendant.

                                            COMPLAINT

          NOW COMES the Plaintiff, ROBERT FOX (“Plaintiff”), by and through his attorneys,

SULAIMAN LAW GROUP, LTD., complaining of the Defendant, I.C. SYSTEM, INC. (“I.C.

System”), as follows:

                                       NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for I.C. System’s violations of the Fair Debt

Collection Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692.

                                      JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §§1331 and 1337, as

the action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as I.C. System’s unlawful

conduct relates to a debt incurred by Plaintiff in this District.

                                               PARTIES

      4. Plaintiff is a consumer and natural person over 18 years-of-age and resides in this District.

      5. I.C. System is a debt collection company with its principal place of business located at 444

HWY 96 East, St. Paul, Minnesota 55127. I.C. System is engaged in the business of collecting, or
                                                   1
          Case: 1:17-cv-07001 Document #: 1 Filed: 09/28/17 Page 2 of 6 PageID #:2



attempting to collect, directly, or indirectly, debt owed or due, or asserted to be owed or due, to

others using the mail and telephone, including consumers in the State of Illinois. I.C. System’s

registered agent in Illinois is C T Corporation System located at 208 S. LaSalle Street, Suite 814,

Chicago, Illinois 60604.

                                                  BANKRUPTCY CASE

       6. Approximately 7 or 8 years ago, Plaintiff obtained cellular phone service from AT&T U-

verse (“U-verse” or “AT&T”).

       7. Plaintiff subsequently incurred a debt owed to U-verse.

       8. In or about January, 2017, Plaintiff defaulted on the debt ultimately owing U-verse

approximately $1,215.51 (“subject debt”).

       9. On March 20, 2017 Plaintiff, along with his wife, filed a Joint Chapter 7 bankruptcy

petition in the United States Bankruptcy Court, Northern District of Illinois, Case Number 17-

08501 (“bankruptcy”1).

       10. Pursuant to 11 U.S.C. §362, the filing of the bankruptcy immediately invoked the

protections of the automatic stay, prohibiting any acts to collect upon the subject debt by AT&T,

I.C. System, or any other party.

       11. Schedule F of the bankruptcy petition listed the subject debt, a pre-petition debt in the

amount of $1,215.51, owed to AT&T. See Exhibit A, a true and correct copy of Schedule F filed

in Plaintiff’s bankruptcy case.

       12. On March 21, 2017, by virtue of listing as a creditor, the Bankruptcy Noticing Center

(“BNC”) served AT &T with notice of Plaintiff’s bankruptcy filing. See Exhibit B, a true and



1
    Plaintiff’s wife is not a party to this lawsuit.

                                                       2
       Case: 1:17-cv-07001 Document #: 1 Filed: 09/28/17 Page 3 of 6 PageID #:3



correct copy of the BNC Certificate of Notice establishing service of the notice of filing on AT&

T.

     13. On April 18, 2017, the 341 Meeting of Creditors was held with the Chapter 7 Trustee. No

representative of AT&T appeared at the 341 Meeting of Creditors.

     14. On August 22, 2017, I.C. System sent Plaintiff a dunning letter demanding immediate

payment on the subject debt in the amount of $1,215.51. The letter explained that the account is

“delinquent,” and that “I.C. System will not submit the account information to the national credit

reporting agencies until the expiration of the time period described in the notice below.” The letter

further advised that Plaintiff can “tear of the bottom portion of this letter and return with [his]

payment.” See Exhibit C, a true and correct copy of the August 22, 2017 dunning letter sent by

I.C. System to Plaintiff.

     15. On June 20, 2017, the Bankruptcy Court entered an Order of Discharge in Plaintiff’s case

of all dischargeable debts, including the subject debt. See Exhibit D, a true and correct copy of the

Order of Discharge and BNC Certificate of Notice establishing service of the Order of Discharge

upon AT & T.

     16. Pursuant to 11 U.S.C. §524, the Order of Discharge invoked the protections of the

discharge injunction, prohibiting any acts to collect upon the subject debt by AT&T, I.C. System,

or any other party.

     17. Plaintiff’s personal liability on the subject loan was extinguished via his bankruptcy

discharge, thus terminating the business relationship with AT&T, I.C. System, and any of their

successors and assigns.

     18. Upon information and belief, I.C. System’s collection efforts occurred after I.C. System

had actual knowledge of Plaintiff’s bankruptcy filing and subsequent discharge.

                                                 3
       Case: 1:17-cv-07001 Document #: 1 Filed: 09/28/17 Page 4 of 6 PageID #:4



                                                 DAMAGES

   19. Plaintiff suffered from emotional distress due to I.C. System’s unlawful attempts to collect

the subject debt.

   20. Plaintiff was unduly inconvenienced and harassed by I.C. System’s unlawful attempt to

collect the subject debt.

   21. Concerned about the violations of his rights and protections afforded by his bankruptcy

discharge injunction, Plaintiff sought the assistance of counsel to ensure that I.C. System’s

collection efforts ceased.

   22. Plaintiff has expended unnecessary effort and time meeting with his attorneys as a result

of I.C. System’s deceptive collection actions.

             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   23. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth herein.

   24. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   25. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

   26. I.C. System is a “debt collector” as defined by §1692a(6) because it regularly collects

debts and uses the mail and/or the telephones to collect delinquent consumer accounts allegedly

owed to a third party.

   27. Moreover, I.C. System is a “debt collector” because it acquired rights to the subject loan

after it was in default. 15 U.S.C. §1692a(6).

   28. I.C. System violated 15 U.S.C. §§1692e, e(2), e(10), f, and f(1) through its debt collection

efforts on a debt included in bankruptcy.



                                                  4
       Case: 1:17-cv-07001 Document #: 1 Filed: 09/28/17 Page 5 of 6 PageID #:5



          a. Violations of FDCPA §1692e

    29. I.C. System violated §1692e by making false representations in its attempts to collect the

subject debt as the subject debt was not collectible at the times I.C. System made its payment

demand.

    30. I.C. System violated §1692e(2) when it misrepresented the character, amount, or legal

status of the subject debt. The subject debt was not collectible when I.C. System demanded

payment due to Plaintiff’s bankruptcy.

    31. I.C. System violated §1692e(10) when it falsely represented that the subject debt was

collectible at the times of the demand even though the subject debt was not collectible by virtue of

Plaintiff’s bankruptcy discharge.

          b. Violations of FDCPA §1692f

    32. I.C. System violated §1692f by employing unfair and unconscionable means to collect the

subject debt when it sent its dunning letter attempting to collect on the subject debt which was duly

listed in Plaintiff’s bankruptcy and subsequently discharged.

    33. I.C. System violated §1692f(1) by attempting to collect a debt that was uncollectible as a

matter of law as the bankruptcy discharge injunction precluded such conduct.

    34. I.C. System attempted to dragoon and induce Plaintiff into paying a debt that was not

legally collectible.

    35. As an experienced debt collector, I.C. System knew or should have known the

ramifications of collecting on a discharged debt.

    36. I.C. System knew or should have known that the subject debt was uncollectable as a matter

of law.



                                                 5
      Case: 1:17-cv-07001 Document #: 1 Filed: 09/28/17 Page 6 of 6 PageID #:6



   37. Upon information and belief, I.C. System has no system in place to identify and cease

collection of debts included in bankruptcy.


         WHEREFORE, Plaintiff ROBERT FOX requests that this Honorable Court:

   a. Declare that the practices complained of herein are unlawful and violate the
       aforementioned statute;
   b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial, for
       the underlying FDCPA violations;
   c. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C.
       §1692k; and
   d. Award any other relief as this Honorable Court deems just and appropriate.

   Plaintiff demands trial by jury.

   Dated: September 28, 2017



                                                  Respectfully Submitted,


                                                  /s/ Majdi Y. Hijazin
                                                  Majdi Y. Hijazin, Of Counsel
                                                  Counsel for Plaintiff
                                                  Sulaiman Law Group, Ltd.
                                                  2500 S. Highland Avenue, Suite 200
                                                  Lombard, IL 60148
                                                  Phone: (630) 575-8181
                                                  Fax: (630) 575-8188
                                                  mhijazin@hijazinlaw.com




                                              6
